l-          Case: 1:18-cr-00664 Document #: 1 Filed: 10/02/18 Page 1 of 2 PageID #:1                (
 I                                     JTTDCEI(EI{DAI.I
                                                                             RECEIVED
     FILED                     fuIAGISTRATE JUDGE COX

                               UNITED STATES DISTRICT COURT                        ocl 0 2 2018
          0ct' - 2             NORTHERN DISTRICT OF ILLINOIS
                     2015
                                     EASTERN DIVISION

     c,.E['SU.tsrBrH[Yl8il*,
        UNITED STATES OF AMERICA                        I]NDER SEAL

                  v.                                                                   664
        MICIIAEL THOMPKINS                              Violation:   fitle   18, United States
                                                        Code, Section    922(d$)


             The SPECIAL JUNE 2018 GRAND JURY charges:

             On or about April 29, 2018, at Chicago, in the Northern District of Illinois,

       Eastern Division,

                                     MICHAEL THOMPKINS,

       defendant herein, previously having been convicted of a crime punishable by a term

       of imprisonment exceeding one year, did knowingly             possess,    in and affecting
       interstate commerce, a firearm, namely a loaded Springfield Armory XD-40 .40

       caliber semi-automatic pistol, bearing serial number MG2g3623, which firearm had

       traveled in interstate and foreign commerce prior to defendant's possession of the

       firearm;

             In violation of Title 18, United States Code, Section 922(il(.l).
     Case: 1:18-cr-00664 Document #: 1 Filed: 10/02/18 Page 2 of 2 PageID #:2




                             FORFEITT]RE ALLEGATION

      The SPECIAL JUNE 2018 GRAND JURY alleges:

      1.      Upon conviction of an offense inviolation ofTitle 18, United States Code,

Section 922(g), as set forth in this Indictment, defend.ant shall forfeit to the United

States of America any firearm and ammunition involved in and used in the offense,

as provided   in fitle   L8, United States Code, Section 924(dX1) and   Title 28, United

States Code, Section 2461(c).

      2.      The property to be forfeited includes, but is not limited to, a Springfield

Armory XD-40 .40 caliber semi-automatic pistol, bearing serial number MG293623,

and associated ammunition.

                                                A TRIIE BILL:



                                                FOREPERSON




UNITED STATES ATTORNEY
